              Case 21-12170-CMG                             Doc 8          Filed 03/28/21 Entered 03/28/21 18:05:21                                               Desc Main
                                                                          Document      Page 1 of 73
 Fill in this information to identify your case:

 Debtor 1                   Sherrilyn G Sinclair
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $                      0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              17,795.00

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $              17,795.00

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $                      0.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                5,000.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              61,723.53


                                                                                                                                     Your total liabilities $                 66,723.53


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,322.84

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,318.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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           Case 21-12170-CMG                           Doc 8          Filed 03/28/21 Entered 03/28/21 18:05:21                        Desc Main
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 Debtor 1      Sherrilyn G Sinclair                                                       Case number (if known) 21-12170

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                            $           7,285.66


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $                0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $            5,000.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                0.00

       9d. Student loans. (Copy line 6f.)                                                                 $            6,015.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                0.00


       9g. Total. Add lines 9a through 9f.                                                           $             11,015.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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 In re   Sherrilyn G Sinclair                                         Case No.
                                                   Debtor(s)



                                    SCHEDULE A/B - PROPERTY
                                              Attachment A



Interest as to residential lease agreement:

Location: 1201 Plymouth Road, North Brunswick, NJ 08902

Landlord: Anil Vazirani, 1201 Plymouth Road, North Brunswick, NJ 08902



Debtor is current with monthly lease payments to landlord. Debtor to assume lease and continue with
regular monthly lease payments per signed lease agreement.
             Case 21-12170-CMG                         Doc 8           Filed 03/28/21 Entered 03/28/21 18:05:21                                      Desc Main
                                                                      Document      Page 4 of 73
 Fill in this information to identify your case and this filing:

 Debtor 1                   Sherrilyn G Sinclair
                            First Name                      Middle Name                       Last Name

 Debtor 2
 (Spouse, if filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number           21-12170                                                                                                                             Check if this is an
                                                                                                                                                            amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
        Yes. Where is the property?



 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1      Make:       Hyundai                                 Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
           Model:      Sonata                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
           Year:       2010                                          Debtor 2 only                                            Current value of the     Current value of the
           Approximate mileage:              181,000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
           Other information:                                        At least one of the debtors and another
          No liens as to motor vehicle
          Motor vehicle in fair condition                            Check if this is community property                                $1,785.00                  $1,785.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                  $1,785.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.


Official Form 106A/B                                                         Schedule A/B: Property                                                                       page 1
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 Debtor 1       Sherrilyn G Sinclair                                                                Case number (if known)     21-12170
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    6 rooms of miscellaneous used household goods and household
                                    furnishings                                                                                                  $7,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    1 laptop computer
                                    3 television sets
                                    1 cellular telephone                                                                                           $800.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Miscellaneous used articles of clothing and clothing accessories                                               $800.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Several pairs of earrings, necklaces, rings and one watch
                                    Majority of jewlery is silver.                                                                                 $100.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    One pet dog                                                                                                        $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No

Official Form 106A/B                                                   Schedule A/B: Property                                                          page 2
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 Debtor 1         Sherrilyn G Sinclair                                                                                        Case number (if known)   21-12170

        Yes. Give specific information.....

                                            Several used books
                                            Family pictures
                                            Wall pictures                                                                                                                  $75.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                            $8,775.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                             Current value of the
                                                                                                                                                         portion you own?
                                                                                                                                                         Do not deduct secured
                                                                                                                                                         claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                 Cash in
                                                                                                                                 debtor's
                                                                                                                                 possession or
                                                                                                                                 at residence                              $35.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                                                             Debit Card Account
                                              17.1.       Debit Card Account Issused by Bancorp Bank, NA                                                                 $200.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                             % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
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 Debtor 1        Sherrilyn G Sinclair                                                                    Case number (if known)      21-12170


                                      401(k) Retirement                    401(k) retirement savings plan through
                                      Savings Plan                         current employer, Not currently receiving
                                                                           benefits and or distributions.
                                                                           ( ERISA qualified retirement savings plan)                                      $0.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                              Institution name or individual:


                                      Rental deposit                       Security deposit as to residential lease                                  $2,500.00
                                                                           agreement:
                                                                           Location: 1201 Plymouth Road, North
                                                                           Brunswick, NJ 08902
                                                                           Landlord: Anil Vazirani, 1201 Plymouth Road,
                                                                           North Brunswick, NJ 08902


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............        Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............        Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                        Current value of the
                                                                                                                                       portion you own?
                                                                                                                                       Do not deduct secured
                                                                                                                                       claims or exemptions.

28. Tax refunds owed to you
      No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



                                                         Expected income tax refunds for tax year
                                                            2020, estimated                                   Federal and State
                                                            Any and all refunds subject to setoff                Income Tax
                                                            for past due income tax liabiliies.                  Refunds                             $4,500.00


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......

Official Form 106A/B                                                   Schedule A/B: Property                                                              page 4
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 Debtor 1        Sherrilyn G Sinclair                                                                                            Case number (if known)        21-12170

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                                        Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

                                             Term life insurance policy through
                                             employer, No cash value.                                                 Debtor's daughter                                              $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $7,235.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........



Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 5
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 Debtor 1         Sherrilyn G Sinclair                                                                                                  Case number (if known)   21-12170

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                         $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                         $0.00
 56. Part 2: Total vehicles, line 5                                                                             $1,785.00
 57. Part 3: Total personal and household items, line 15                                                        $8,775.00
 58. Part 4: Total financial assets, line 36                                                                    $7,235.00
 59. Part 5: Total business-related property, line 45                                                               $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                      $0.00
 61. Part 7: Total other property not listed, line 54                                             +                 $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $17,795.00              Copy personal property total             $17,795.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $17,795.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 6
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                                                                     Document     Page 10 of 73
 Fill in this information to identify your case:

 Debtor 1                 Sherrilyn G Sinclair
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2010 Hyundai Sonata 181,000 miles                                $1,785.00                                 $1,785.00     11 U.S.C. § 522(d)(2)
      No liens as to motor vehicle
      Motor vehicle in fair condition                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit

      2010 Hyundai Sonata 181,000 miles                                $1,785.00                                               11 U.S.C. § 522(d)(2)
      No liens as to motor vehicle
      Motor vehicle in fair condition                                                      100% of fair market value, up to
      Line from Schedule A/B: 3.1                                                          any applicable statutory limit


      6 rooms of miscellaneous used                                    $7,000.00                                 $7,000.00     11 U.S.C. § 522(d)(3)
      household goods and household
      furnishings                                                                          100% of fair market value, up to
      Line from Schedule A/B: 6.1                                                          any applicable statutory limit

      1 laptop computer                                                   $800.00                                  $800.00     11 U.S.C. § 522(d)(3)
      3 television sets
      1 cellular telephone                                                                 100% of fair market value, up to
      Line from Schedule A/B: 7.1                                                          any applicable statutory limit

      Miscellaneous used articles of                                      $800.00                                  $800.00     11 U.S.C. § 522(d)(3)
      clothing and clothing accessories
      Line from Schedule A/B: 11.1                                                         100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 3
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 Debtor 1    Sherrilyn G Sinclair                                                                        Case number (if known)     21-12170
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Miscellaneous used articles of                                      $800.00                                                  11 U.S.C. § 522(d)(3)
     clothing and clothing accessories
     Line from Schedule A/B: 11.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Several pairs of earrings, necklaces,                               $100.00                                   $100.00        11 U.S.C. § 522(d)(4)
     rings and one watch
     Majority of jewlery is silver.                                                        100% of fair market value, up to
     Line from Schedule A/B: 12.1                                                          any applicable statutory limit

     One pet dog                                                            $0.00                                                 11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Several used books                                                   $75.00                                    $75.00        11 U.S.C. § 522(d)(3)
     Family pictures
     Wall pictures                                                                         100% of fair market value, up to
     Line from Schedule A/B: 14.1                                                          any applicable statutory limit

     Cash in debtor's possession or at                                    $35.00                                    $35.00        11 U.S.C. § 522(d)(5)
     residence
     Line from Schedule A/B: 16.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Debit Card Account: Debit Card                                      $200.00                                   $200.00        11 U.S.C. § 522(d)(5)
     Account
     Issused by Bancorp Bank, NA                                                           100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                          any applicable statutory limit

     Debit Card Account: Debit Card                                      $200.00                                                  11 U.S.C. § 522(d)(5)
     Account
     Issused by Bancorp Bank, NA                                                           100% of fair market value, up to
     Line from Schedule A/B: 17.1                                                          any applicable statutory limit


     401(k) Retirement Savings Plan:                                        $0.00                                                 11 U.S.C. § 522(d)(10)(E)
     401(k) retirement savings plan
     through current employer, Not                                                         100% of fair market value, up to
     currently receiving benefits and or                                                   any applicable statutory limit
     distributions.
     ( ERISA qualified retirement savings
     plan)
     Line from Schedule A/B: 21.1

     401(k) Retirement Savings Plan:                                        $0.00                                                 11 U.S.C. § 522(d)(12)
     401(k) retirement savings plan
     through current employer, Not                                                         100% of fair market value, up to
     currently receiving benefits and or                                                   any applicable statutory limit
     distributions.
     ( ERISA qualified retirement savings
     plan)
     Line from Schedule A/B: 21.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 3
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 Debtor 1    Sherrilyn G Sinclair                                                                        Case number (if known)     21-12170
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     401(k) Retirement Savings Plan:                                        $0.00                                                 11 U.S.C. Section 541(c)(2)
     401(k) retirement savings plan
     through current employer, Not                                                         100% of fair market value, up to
     currently receiving benefits and or                                                   any applicable statutory limit
     distributions.
     ( ERISA qualified retirement savings
     plan)
     Line from Schedule A/B: 21.1

     Rental deposit: Security deposit as                               $2,500.00                                 $2,500.00        11 U.S.C. § 522(d)(5)
     to residential lease agreement:
     Location: 1201 Plymouth Road, North                                                   100% of fair market value, up to
     Brunswick, NJ 08902                                                                   any applicable statutory limit
     Landlord: Anil Vazirani, 1201
     Plymouth Road, North Brunswick, NJ
     08902
     Line from Schedule A/B: 22.1

     Federal and State Income Tax                                      $4,500.00                                                  11 U.S.C. § 522(d)(5)
     Refunds: Expected income tax
     refunds for tax year 2020, estimated                                                  100% of fair market value, up to
     Any and all refunds subject to setoff                                                 any applicable statutory limit
     for past due income tax liabiliies.
     Line from Schedule A/B: 28.1

     Federal and State Income Tax                                      $4,500.00                                                  11 U.S.C. § 522(d)(5)
     Refunds: Expected income tax
     refunds for tax year 2020, estimated                                                  100% of fair market value, up to
     Any and all refunds subject to setoff                                                 any applicable statutory limit
     for past due income tax liabiliies.
     Line from Schedule A/B: 28.1

     Term life insurance policy through                                     $0.00                                                 11 U.S.C. § 522(d)(7)
     employer, No cash value.
     Beneficiary: Debtor's daughter                                                        100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 3
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                                                                     Document     Page 13 of 73
 Fill in this information to identify your case:

 Debtor 1                 Sherrilyn G Sinclair
                          First Name                        Middle Name           Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name           Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                            Check if this is an
                                                                                                                                       amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?

           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                             page 1 of 1
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 In re   Sherrilyn G Sinclair                                            Case No.   21-12170
                                                    Debtor(s)



                    SCHEDULE E/F - CREDITORS WHO HAVE UNSECURED CLAIMS
                                               Attachment A



* The majority of debts , about $36,000.00 dollars, estimated, listed on schedules represent monies
owed for past due rents. Most of the debts were incurred many years ago when debtor was not
employed regularly.

* The debtor has has some medical debts as listed on the schedules.

* The debtor has little or no credit card debts or loans as listed on the schedules.
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 Fill in this information to identify your case:

 Debtor 1                     Sherrilyn G Sinclair
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Internal Revenue Service                               Last 4 digits of account number       7772               $5,000.00         $2,000.00             $3,000.00
              Priority Creditor's Name
                                                                     When was the debt incurred?
              PO Box 7346
              Philadelphia, PA 19114
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
                                                                        Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:
              At least one of the debtors and another                   Domestic support obligations
              Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
              No
                                                                        Other. Specify
              Yes
                                                                                         Personal income tax liabilities, estimated for
                                                                                         2015, 2016 and 2018




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 30
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 Debtor 1 Sherrilyn G Sinclair                                                                             Case number (if known)            21-12170

 2.2        State of New Jersey                                      Last 4 digits of account number     7772                Unknown                Unknown                 Unknown
            Priority Creditor's Name
            Division of Taxation                                     When was the debt incurred?
            50 Barrack Street, P.O. Box 269
            Trenton, NJ 08646
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
            Debtor 1 only
                                                                        Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations
            Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes
                                                                                         Personal income tax liabilities, estimated

 2.3        State of New York                                        Last 4 digits of account number     7772                Unknown                Unknown                 Unknown
            Priority Creditor's Name
            Dept. of Taxation and Finance                            When was the debt incurred?
            PO Box 5300
            Albany, NY 12201-0530
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.
                                                                        Contingent
            Debtor 1 only
                                                                        Unliquidated
            Debtor 2 only
                                                                        Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
            At least one of the debtors and another                     Domestic support obligations
            Check if this claim is for a community debt
                                                                        Taxes and certain other debts you owe the government
        Is the claim subject to offset?
                                                                        Claims for death or personal injury while you were intoxicated
            No
                                                                        Other. Specify
            Yes
                                                                                         Personal income tax liabilities, estimated


 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 30
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 Debtor 1 Sherrilyn G Sinclair                                                                           Case number (if known)         21-12170

 4.1      Account Resolution Services                                Last 4 digits of account number       6174                                                 $1,495.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          P0 Box 459079
          Sunrise, FL 33345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for Emergency Physicians
              Yes                                                       Other. Specify   Associates of N Jersey PC

 4.2      Afni, Inc.                                                 Last 4 digits of account number       1935                                                   $531.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          P0 Box 3427
          Bloomington, IL 61702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for AT&T
              Yes                                                       Other. Specify   Cellular telephone services

 4.3      ARS                                                        Last 4 digits of account number       8949                                                   $739.00
          Nonpriority Creditor's Name
          PO Box 469100                                              When was the debt incurred?
          Escondido, CA 92046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for Emergency Physicians
                                                                                         Medical Group
              Yes                                                       Other. Specify   Medical Debts




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 30
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 4.4      Bally's Total Fitness                                      Last 4 digits of account number       3873                                                   $318.00
          Nonpriority Creditor's Name
          PO Box 1070                                                When was the debt incurred?
          Norwalk, CA 90651
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Fees


 4.5      Barnabus Ambulatory Care Center                            Last 4 digits of account number       1830                                                     $41.13
          Nonpriority Creditor's Name
          PO Box 32053                                               When was the debt incurred?
          New York, NY 10087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


          California Hospital and Medical
 4.6      Center                                                     Last 4 digits of account number       9977                                                   $120.00
          Nonpriority Creditor's Name
          1401 S Grand Avenue                                        When was the debt incurred?
          Los Angeles, CA 90015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 Debtor 1 Sherrilyn G Sinclair                                                                           Case number (if known)         21-12170

 4.7      Capital One                                                Last 4 digits of account number       0496                                                       $0.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          P0 Box 30285
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card Debts ( zero or no balance)


 4.8      CDTFA                                                      Last 4 digits of account number       XXXX                                                 $1,472.00
          Nonpriority Creditor's Name
          1800 30th Street                                           When was the debt incurred?
          Suite 380
          Bakersfield, CA 93301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   CA State Income Taxes


 4.9      Comcast                                                    Last 4 digits of account number       1009                                                   $342.00
          Nonpriority Creditor's Name
          PO Box 1809                                                When was the debt incurred?
          Union, NJ 07083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cable Tv fees




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 4.1
 0        Convergant Inc.                                            Last 4 digits of account number       5403                                                   $531.00
          Nonpriority Creditor's Name
          PO Box 9021                                                When was the debt incurred?
          800 SW 39th Street
          Renton, WA 98057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for PSE&G
              Yes                                                       Other. Specify   Utilities

 4.1
 1        Credit Collection Services                                 Last 4 digits of account number       1927                                                   $121.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          725 Canton Steeet
          Norwood, MA 02494
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for Labcorp
              Yes                                                       Other. Specify   Medical debts

 4.1
 2        Dennis P Block & Associates                                Last 4 digits of account number       1185                                               $10,634.00
          Nonpriority Creditor's Name
          5417 Laurel Canyon Blvd                                    When was the debt incurred?
          2nd Floor
          Valley Village, CA 91607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Past Due Rents
              Yes                                                       Other. Specify   Esiquio Casillas v. Shirlyn Sinclair




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 4.1
 3        Enterprise - Rent - A - Car                                Last 4 digits of account number       XXXX                                                 Unknown
          Nonpriority Creditor's Name
          600 Corporate Park Drive                                   When was the debt incurred?
          Saint Louis, MO 63105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unknown Debts


 4.1
 4        Fandistg                                                   Last 4 digits of account number       1645                                                 $5,136.00
          Nonpriority Creditor's Name
          PO Box 22171                                               When was the debt incurred?
          Rochester, NY 14692
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for The Villas at Park La Brea
              Yes                                                       Other. Specify   Past due rents

 4.1
 5        Goldson Medical Associates LLC                             Last 4 digits of account number       5325                                                   $180.00
          Nonpriority Creditor's Name
          20 Valley Street                                           When was the debt incurred?
          Suite 320
          South Orange, NJ 07079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.1
 6        I C System                                                 Last 4 digits of account number       3848                                                     $93.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          P0 Box 64378
          Saint Paul, MN 55164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for AT&T - Directv
              Yes                                                       Other. Specify   Cable Tv fees

 4.1
 7        Imaging Consultants of Essex, P.A.                         Last 4 digits of account number       2465                                                     $54.00
          Nonpriority Creditor's Name
          PO Box 3247                                                When was the debt incurred?
          Indianapolis, IN 46206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


 4.1
 8        Iq Data International                                      Last 4 digits of account number       6213                                                 $9,364.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          P0 Box 340
          Bothell, WA 98041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for Parkway Lofts NJ
              Yes                                                       Other. Specify   Past due rents




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 4.1
 9        Jingjun Liu                                                Last 4 digits of account number       1818                                                 Unknown
          Nonpriority Creditor's Name
          83 Doe Court                                               When was the debt incurred?
          Monmouth Junction, NJ 08852
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Past Due Rents


 4.2
 0        Kinum, Inc.                                                Last 4 digits of account number       1616                                                   $150.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          770 Lynnhaven Parkway, Ste 160
          Virginia Beach, VA 23452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


 4.2
 1        La Park La Brea LLC                                        Last 4 digits of account number       3222                                                 $3,906.00
          Nonpriority Creditor's Name
          5555 West 6th Street                                       When was the debt incurred?
          Attn: Rental Office
          Los Angeles, CA 90084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Past Due Rents




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 4.2                                                                                                       mutiple
 2        Labcorp                                                    Last 4 digits of account number       accounts                                               $121.00
          Nonpriority Creditor's Name
          Attn: LCA Collections                                      When was the debt incurred?
          PO Box 2240
          Burlington, NC 27216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


 4.2
 3        Metlife Auto & Home Insurance                              Last 4 digits of account number       XXXX                                                 Unknown
          Nonpriority Creditor's Name
          PO Box 41753                                               When was the debt incurred?
          Philadelphia, PA 19101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Fees


 4.2
 4        Millburn Medical Imaging                                   Last 4 digits of account number       1750                                                   $926.00
          Nonpriority Creditor's Name
          210 W. St. Georges Avenue                                  When was the debt incurred?
          Suite 100
          Linden, NJ 07036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.2
 5        Navient                                                    Last 4 digits of account number       0812                                                 $6,015.00
          Nonpriority Creditor's Name
          Attn: Claims Dept                                          When was the debt incurred?
          P0 Box 9500
          Wilkes-Barre, PA 18773
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Student loans ( Cannot wipe out- For notice
                                                                                         only)
 4.2
 6        New Century Financial                                      Last 4 digits of account number       8913                                                 $1,489.00
          Nonpriority Creditor's Name
          110 S. Jefferson Rd., #104                                 When was the debt incurred?
          Whippany, NJ 07981
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Purchases


 4.2      New Jersey Foot and Ankle
 7        Associates                                                 Last 4 digits of account number       unts                                                   $293.13
          Nonpriority Creditor's Name
          Attn# 14840K                                               When was the debt incurred?
          PO Box 14000
          Belfast, ME 04915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.2
 8        NJ EZ Pass                                                 Last 4 digits of account number       XXXX                                                     $49.50
          Nonpriority Creditor's Name
          PO Box 4973                                                When was the debt incurred?
          Trenton, NJ 08650
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Fees


 4.2
 9        NJ Surcharge Violations                                    Last 4 digits of account number       8612                                                   $799.36
          Nonpriority Creditor's Name
          PO Box 1502                                                When was the debt incurred?
          Moorestown, NJ 08057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Surcharges


 4.3
 0        Nutribullet, LLC                                           Last 4 digits of account number       52N1                                                   $138.00
          Nonpriority Creditor's Name
          PO Box 4575                                                When was the debt incurred?
          Pacoima, CA 91333
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Purchases




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 4.3
 1        NY Department fo Labor                                     Last 4 digits of account number       7722                                                 $1,832.38
          Nonpriority Creditor's Name
          PO Box 15130                                               When was the debt incurred?
          Albany, NY 12212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Overpayment of benefits


 4.3
 2        Ocean Home health                                          Last 4 digits of account number       8694                                                     $75.00
          Nonpriority Creditor's Name
          PO Box 825570                                              When was the debt incurred?
          Philadelphia, PA 19182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


 4.3
 3        Overlook Hospital                                          Last 4 digits of account number       8919                                                 $2,200.00
          Nonpriority Creditor's Name
          1000 American Road                                         When was the debt incurred?
          Morris Plains, NJ 07950
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.3      Recivable Management Services.
 4        LLC                                                        Last 4 digits of account number       8633                                                   $699.00
          Nonpriority Creditor's Name
          Attn: Bankruptcy                                           When was the debt incurred?
          240 Emery Street
          Bethlehem, PA 18015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Collecting for Progressive Insurance
              Yes                                                       Other. Specify   Fees

 4.3
 5        Rutgers Health                                             Last 4 digits of account number       8750                                                 $1,044.48
          Nonpriority Creditor's Name
          PO Box 829650                                              When was the debt incurred?
          Philadelphia, PA 19182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


 4.3
 6        RWJ Barnabus Health                                        Last 4 digits of account number       4325                                                 $1,588.55
          Nonpriority Creditor's Name
          PO Box 903                                                 When was the debt incurred?
          Oceanport, NJ 07757
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.3
 7        SA Properties Holdings                                     Last 4 digits of account number       XXXX                                                 Unknown
          Nonpriority Creditor's Name
          Attn: Rental Office                                        When was the debt incurred?
          7215 Hillside Avenue
          Los Angeles, CA 90046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Past Due Rents


 4.3
 8        Sofi Gaslight Commons                                      Last 4 digits of account number       4015                                                 $7,234.00
          Nonpriority Creditor's Name
          28 West 3rd Street                                         When was the debt incurred?
          Attn: Management Office
          South Orange, NJ 07079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
                                                                        Contingent
              Debtor 1 only
                                                                        Unliquidated
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Past Due Rents


 4.3
 9        South Orange Dental Center                                 Last 4 digits of account number       1172                                                   $449.00
          Nonpriority Creditor's Name
          481 South Orange Avenue                                    When was the debt incurred?
          South Orange, NJ 07079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.4
 0        T-Mobile                                                   Last 4 digits of account number       9538                                                   $331.00
          Nonpriority Creditor's Name
          Bankruptcy                                                 When was the debt incurred?
          PO Box 37380
          Albuquerque, NM 87176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Cellular telephone services


 4.4
 1        University Orthopaedic Associates                          Last 4 digits of account number       1050                                                   $355.00
          Nonpriority Creditor's Name
          2 Worlds Fair Drive                                        When was the debt incurred?
          Somerset, NJ 08873
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts


 4.4                                                                                                       mutiple
 2        University Radiology                                       Last 4 digits of account number       accounts                                                 $50.00
          Nonpriority Creditor's Name
          PO Box 1075                                                When was the debt incurred?
          579A Cranbury Road
          East Brunswick, NJ 08816-1075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical Debts




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 4.4                                                                                                         mutiple
 3         Verizon Bankruptcy                                        Last 4 digits of account number         accounts                                                   $223.00
           Nonpriority Creditor's Name
           500 Technology Drive                                      When was the debt incurred?
           Saint Charles, MO 63304
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Telephone services


 4.4
 4         Wakefield & Associates                                    Last 4 digits of account number         1378                                                       $584.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?
           7005 Middlebrook Pike
           Knoxville, TN 37909
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Collecting for Emergency Associates Of
                                                                                          Montclair
              Yes                                                       Other. Specify    Medical Debts

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Account Resolution Services                                   Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 1643 Nw 136th Avenue                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Sunrise, FL 33323
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Afni                                                          Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 3427                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Bloomington, IL 61702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Afni, Inc.                                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P0 Box 3097                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Bloomington, IL 61702
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?


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 AHS Hospital Corp.                                            Line 4.33 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 PO Box 21385                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10087
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AHS Hospital Corp.                                            Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 35510                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Collection Service                                     Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 3080 S Durango Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Las Vegas, NV 89117
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Allied Collection Service                                     Line 4.30 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 9301 Oakdale Avenue                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 205
 Chatsworth, CA 91311
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Apex Asset Management                                         Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 7044                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Lancaster, PA 17604
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Apex Asset Management                                         Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 5407                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Lancaster, PA 17606
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ARS                                                           Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 48078                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT& Mobility Inc.                                             Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 One AT&T Way                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Room 31104
 Bedminster, NJ 07921
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 At&T Mobility                                                 Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 537113                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30353
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T Mobility                                                 Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 537104                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30353
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 AT&T Mobility                                                 Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2812 North Roan Street                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Johnson City, TN 37601
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bally's                                                       Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 44425                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims

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 Baltimore, MD 21236
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Bally's Total Fitness                                         Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 12440 Imperial Highway                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Norwalk, CA 90650
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barnabus Health                                               Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 903                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Oceanport, NJ 07757
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Barnabus Medical Group                                        Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 8000                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Dept. 727
 Buffalo, NY 14267
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 BCA Financial Services                                        Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 18001 Old Cutter Road                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 462
 Miami, FL 33157
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One                                                   Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 P0 Box 31293                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Salt Lake City, UT 84131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One Services, Inc.                                    Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 15000 Capital One Drive                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Richmond, VA 23238
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One, NA                                               Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Bankruptcy Dept.                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5155
 Norcross, GA 30091
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Capital One, NA                                               Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Capital One Bank (USA) N.A.                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 P0 Box 30285
 Salt Lake City, UT 84130
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CBE                                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 131 Tower Park,suite 100                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2547
 Waterloo, IA 50704
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 CBE                                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2594                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Waterloo, IA 50704-2594
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Comcast                                                       Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims

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 800 Rahway Avenue                                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 Union, NJ 07083
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Convergant Outsourcing                                        Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 9004                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Renton, WA 98057
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Credit Collection Services                                    Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 447                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Norwood, MA 02062
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dennis P Block & Associates ESQ                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5417 Laurel Canyon Blvd                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 2nd Floor
 Valley Village, CA 91607
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dennis P Block & Associates ESQ                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLP                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 5417 Laurel Canyon Blvd
 2nd Floor
 Valley Village, CA 91607
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Dennis P Block & Associates LLP                               Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5417 Laurel Canyon Blvd                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 2nd Floor
 Valley Village, CA 91607
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Directv                                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 11732                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Directv                                                       Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 5007                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Carol Stream, IL 60197
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 EMA of Montcalir                                              Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 66 West Gilbert Street                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Red Bank, NJ 07701
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 EMA of Montclair                                              Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1 Bay Avenue                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Montclair, NJ 07042
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Emergency Associates of Montclair                             Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 1 Bay Avenue                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Montclair, NJ 07042
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Emergency Medical Associates                                  Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims

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 P.O. Box 717                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Livingston, NJ 07039
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Emergency Physician Services                                  Line 4.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 95-7772                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Louis, MO 63195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Emergency Physicians Assoc. of N.                             Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Jersey                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 P0 Box 740021
 Cincinnati, OH 45274
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Enhanced Recovery Corp.                                       Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 8014 Bayberry Road                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32256
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Enhanced Recovery Corporation                                 Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 10550 Dearwood Park Blvd.                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 600
 Jacksonville, FL 32256
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Enterprise RAC                                                Line 4.13 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4900 Route 33                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Neptune, NJ 07753
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 ERC                                                           Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 23870                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Jacksonville, FL 32241
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Esiquio Casillas                                              Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Dennis P Block and                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 Associates
 5437 Laurel Canyon Blvd, 2nd Floor
 Valley Village, CA 91607
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fair Collections                                              Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6931 Arlington Road                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 40
 Bethesda, MD 20814
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fair Collections and Outsourcing                              Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 12304 Baltimore Avenue                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Suite E
 Beltsville, MD 20705
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Franchise Tax Board                                           Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 942840                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Sacramento, CA 94240
                                                               Last 4 digits of account number


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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services                                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3346                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77253
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 GC Services Inc.                                              Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 3346                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Houston, TX 77253
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Grant & Weber                                                 Line 4.6 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 26575 W Agooura Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Calabasas, CA 91302
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 I C System                                                    Line 4.16 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 64378                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC Systems                                                    Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 64378                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Paul, MN 55164
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IC Systems                                                    Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 444 Highway 96 East                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 64887
 Saint Paul, MN 55164
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Imaging Consultants of Essex, P.A.                            Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 371863                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Pittsburgh, PA 15250
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Iq Data International                                         Line 4.18 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 39                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Bothell, WA 98041
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 ACS Support                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 219236
 Kansas City, MO 64121
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 9019                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Holtsville, NY 11742
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 219236                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Kansas City, MO 64121
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 IRS                                                           Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims

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 PO Box 804527                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Cincinnati, OH 45280
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Kinum, Inc.                                                   Line 4.20 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 770 Lynnhaven Parkway                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Virginia Beach, VA 23452
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 La Park La Brea                                               Line 4.21 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5555 West 6th Street                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Management Office
 Los Angeles, CA 90084
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Labcorp                                                       Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: LCA Collections                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2240
 Burlington, NC 27216
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Laboratory Corp. of America                                   Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Holdings                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2240
 Burlington, NC 27216-2240
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Laboratory Corp. of America                                   Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Holdings                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 2240
 Burlington, NC 27216-2240
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Laboratory Corporation                                        Line 4.22 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 2240                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Burlington, NC 27216-2240
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Los Angeles County Sheriff                                    Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Department                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 843580
 File # 3122102201185
 Los Angeles, CA 90084-3580
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Los Angeles County Sheriff's                                  Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Department                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 843580
 File # 3122102201185
 Los Angeles, CA 90084-3580
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Los Angeles County Sheriff's                                  Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Department                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 110 N Grand Avenue, Room 525
 File # 3122102201185
 Los Angeles, CA 90012
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Metlife Home & Auto                                           Line 4.23 of (Check one):

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 9797 Springboro Pike                                                                                       Part 1: Creditors with Priority Unsecured Claims
 Dayton, OH 45448                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Millburn Medical Imaging                                      Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1230                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Eatontown, NJ 07724
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Motor Vehicle Services                                        Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Division of Motor Vehicles                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 225 East State Street
 Trenton, NJ 08666
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Motor Vehicle Services NJ                                     Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Division of Motor Vehicles                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 225 East State Street
 Trenton, NJ 08666
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Motor Vehicles                                                Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Driver Control Services                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 134
 Trenton, NJ 08666
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient                                                       Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 9635                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Wilkes Barre, PA 18773
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient                                                       Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Attn: Bankruptcy                                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 P0 Box 9640
 Wilkes Barre, PA 18773
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Navient                                                       Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 9635                                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 Wilkes Barre, PA 18773
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 New Century Financial                                         Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7 Entin Road                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Parsippany, NJ 07054-9944
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 New Century Financial LLC                                     Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7 Entin Road                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Parsippany, NJ 07054-9944
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 New Jersey Foot and Ankle                                     Line 4.27 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Associates                                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 14099
 Belfast, ME 04915
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?

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 Debtor 1 Sherrilyn G Sinclair                                                                           Case number (if known)          21-12170

 NJ EZ Pass Service Center                                     Line 4.28 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 PO Box 4973                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Trenton, NJ 08650
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NJ EZ Pass Violation Processing                               Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Center                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 P0 Box 52005
 Newark, NJ 07101-8205
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NJ Surcharge Violations NJS                                   Line 4.29 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1502                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Moorestown, NJ 08057
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 NY Department of Labor                                        Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 611                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Albany, NY 12201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ocean Home Health                                             Line 4.32 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1259                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Dept. # 10418
 Oaks, PA 19456
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Online Collections                                            Line 4.17 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 202 W Firetower Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Winterville, NC 28590
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Overlook Hospital                                             Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 35611                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Newark, NJ 07193
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PAM LLC                                                       Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1642                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PAM LLC NJ EZ Pass                                            Line 4.28 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 1520                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Milwaukee, WI 53201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Peerless Credit Services                                      Line 4.15 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 518                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Middletown, PA 17057
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pressler And Pressler, LLP                                    Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7 Entin Road                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Parsippany, NJ 07054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pressler, Felt, & Warshaw, LLP                                Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7 Entin Road                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims

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 Parsippany, NJ 07054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Pressler, Felt, & Warshaw, LLP ESQ                            Line 4.26 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 7 Entin Road                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Parsippany, NJ 07054
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Progressive Insurance                                         Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 7247-0311                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19170
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Progressive Insurance                                         Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 6300 Wilson Mills Road                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44143
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PSEG                                                          Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 14104                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New Brunswick, NJ 08906-4104
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PSEG                                                          Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 14106                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New Brunswick, NJ 08906
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PSEG                                                          Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 790                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Cranford, NJ 07016-0790
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 PSEG                                                          Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 14444                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New Brunswick, NJ 08906
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Recivable Management Services.                                Line 4.34 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 240 Emery Street
 Bethlehem, PA 18015
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Remex , Inc.                                                  Line 4.24 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 307 Wall Street                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Princeton, NJ 08540
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Rutgers Health RWJMG                                          Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 829650                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19182
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 RWJ                                                           Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 21358                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10087
                                                               Last 4 digits of account number



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 Debtor 1 Sherrilyn G Sinclair                                                                           Case number (if known)          21-12170
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 RWJ Barnabus Health                                           Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 903                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Oceanport, NJ 07757
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 RWJ Health Network, Inc.                                      Line 4.35 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 21988                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10087
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Sofi Gaslight Commons Inc.                                    Line 4.38 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 28 West 3rd Street                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Attn: Management Office
 South Orange, NJ 07079
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southwest Credit Systems                                      Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4120 International Parkway                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 1100
 Carrollton, TX 75007
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southwest Credit Systems                                      Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5910 W. Plano Parkway                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Plano, TX 75093
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 St. Barnabas Medical Center                                   Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 2 Crescent Place                                                                                         Part 2: Creditors with Nonpriority Unsecured Claims
 Oceanport, NJ 07757
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 St. Barnabus EMA                                              Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 80244                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Philadelphia, PA 19101
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 St. Barnabus Medical Center                                   Line 4.5 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 PO Box 903                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Oceanport, NJ 07757
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State of New Jersey                                           Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Division of Taxation                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 046
 Trenton, NJ 08646-0046
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State of New Jersey                                           Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Division of Revenue                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 262
 Trenton, NJ 08646
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State of New Jersey                                           Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Division of Taxation                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 283
 Trenton, NJ 08695
                                                               Last 4 digits of account number

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 Debtor 1 Sherrilyn G Sinclair                                                                           Case number (if known)          21-12170

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 State of New York                                             Line 2.3 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Dept. of Taxation and Finance                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 5300
 Albany, NY 12201-0530
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Swift Financial Corporation                                   Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 3505 Silverside Road                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19810
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Swift Financial Corporation                                   Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 927 Deep Valley Drive                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Palos Verdes Peninsula, CA 90274
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 T-Mobile                                                      Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 629025                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 El Dorado Hills, CA 95762
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 T-Mobile Bankruptcy Team                                      Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 53410                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Bellevue, WA 98015
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 T-Mobile Financial                                            Line 4.40 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 2400                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Young America, MN 55553
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Grogan Law Group LLP                                      Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 17 Prospect Street                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Morristown, NJ 07960
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 The Grogan Law Group, LLP ESQ                                 Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 17 Prospect Street                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 Morristown, NJ 07960
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Trident Asset Management                                      Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 5755 Northpoint Parkway                                                                                  Part 2: Creditors with Nonpriority Unsecured Claims
 Alpharetta, GA 30022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Trident Asset Management                                      Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 888424                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30356
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Trojan Professional Services                                  Line 4.39 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4410 Cerritos Avenue                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Los Alamitos, CA 90720
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Tsys Total Debt Management , Inc.                             Line 4.7 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims


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 PO Box 6700                                                                                              Part 2: Creditors with Nonpriority Unsecured Claims
 Norcross, GA 30091
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Unemployment Insurance Division                               Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Benefits Collection Unit                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1195
 Albany, NY 12201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Unemployment Insurance Division                               Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 NY State Department of Labor                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1195
 Albany, NY 12201
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Unemployment Insurance Division                               Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 N.Y.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 NY State Department of Labor
 PO Box 4320
 Binghamton, NY 13902
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Unemployment Insurance Division                               Line 4.31 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 N.Y.                                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 NY State Department of Labor
 PO Box 1195
 Albany, NY 12201-1195
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 University Orthopaedic Associates                             Line 4.41 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 LLC                                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 2 Worlds Fair Drive
 Somerset, NJ 08873
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 University Radiology                                          Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 371863                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Pittsburgh, PA 15250
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 University Radiology                                          Line 4.42 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 999                                                                                               Part 2: Creditors with Nonpriority Unsecured Claims
 Yorktown Heights, NY 10598
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 US Department of Education                                    Line 4.25 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 P0 Box 105189                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Atlanta, GA 30348
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon                                                       Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 15124                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Albany, NY 12212
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon Bankruptcy                                            Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 500 Technology Drive                                                                                     Part 2: Creditors with Nonpriority Unsecured Claims
 Saint Charles, MO 63304
                                                               Last 4 digits of account number

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 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon Bankruptcy South                                      Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 25087                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Wilmington, DE 19899
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Verizon Online                                                Line 4.43 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 PO Box 12045                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Trenton, NJ 08650
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Wakefield & Associates                                        Line 4.44 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Po Box 50250                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Knoxville, TN 37950
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                     5,000.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     5,000.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                     6,015.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    55,708.53

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    61,723.53




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 Fill in this information to identify your case:

 Debtor 1                  Sherrilyn G Sinclair
                           First Name                         Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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              Case 21-12170-CMG                            Doc 8         Filed 03/28/21 Entered 03/28/21 18:05:21               Desc Main
                                                                        Document     Page 46 of 73
 Fill in this information to identify your case:

 Debtor 1                   Sherrilyn G Sinclair
                            First Name                            Middle Name        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                    Check if this is an
                                                                                                                               amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                     12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

    3.1                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




    3.2                                                                                                Schedule D, line
                Name
                                                                                                       Schedule E/F, line
                                                                                                       Schedule G, line
                Number             Street
                City                                      State                       ZIP Code




Official Form 106H                                                               Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      Sherrilyn G Sinclair

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF NEW JERSEY

Case number               21-12170                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Executive Assistant
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Warner Media, LLC

       Occupation may include student        Employer's address
                                                                   30 Hudson Yards
       or homemaker, if it applies.
                                                                   New York, NY 10012

                                             How long employed there?         2 Years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         7,725.03        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,725.03               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Sherrilyn G Sinclair                                                                  Case number (if known)    21-12170


                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse
      Copy line 4 here                                                                     4.         $      7,725.03       $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,750.45       $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $        540.76       $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $         30.68       $               N/A
      5e.    Insurance                                                                     5e.        $         80.30       $               N/A
      5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
      5g.    Union dues                                                                    5g.        $          0.00       $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $          0.00 +     $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,402.19       $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,322.84       $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $              0.00   $               N/A
      8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00   $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
      8e. Social Security                                                                  8e.        $              0.00   $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.        $              0.00   $               N/A
      8g. Pension or retirement income                                                     8g.        $              0.00   $               N/A
                                               Income tax refunds ( Subject to
      8h.    Other monthly income. Specify:    setoff for past due taxes)                  8h.+ $                    0.00 + $               N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              5,322.84 + $           N/A = $          5,322.84
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                       12.   $         5,322.84
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: Debtor is a salaried employee and receives little or no over-time wages.




Official Form 106I                                                     Schedule I: Your Income                                                     page 2
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Fill in this information to identify your case:

Debtor 1                 Sherrilyn G Sinclair                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF NEW JERSEY                                                     MM / DD / YYYY

Case number           21-12170
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                            Mother                               84 Years            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,950.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                                0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
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Debtor 1     Sherrilyn G Sinclair                                                                      Case number (if known)      21-12170

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 280.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 301.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                685.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 95.00
10.   Personal care products and services                                                    10. $                                                 200.00
11.   Medical and dental expenses                                                            11. $                                                 200.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 655.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  80.00
14.   Charitable contributions and religious donations                                       14. $                                                  50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  142.00
      15d. Other insurance. Specify: Renters Insurance                                     15d. $                                                   55.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Income tax liabilities, estimated                                    16. $                                                 225.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Payments of medical bills and expenses for mother, Est.             21. +$                                                400.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,318.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,318.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,322.84
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,318.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                    4.84

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: Debtor has several medical issues with make some household and living expenses higher
                          than usual.
                          Transportation costs, are higher than usual, because debtor travels daily to NYC as a condition of
                          employment.
                          Debtor provides care and support to her elderly mother. Debtor covers many medical costs and living
                          expenses for elderly mother. Debtor pays household bills, medical bills, and other debts on behalf of her
                          elderly mother.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    Sherrilyn G Sinclair
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number              21-12170
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Sherrilyn G Sinclair                                                  X
              Sherrilyn G Sinclair                                                      Signature of Debtor 2
              Signature of Debtor 1

              Date        3/17/2021                                                     Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  Sherrilyn G Sinclair
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                              4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                            Dates Debtor 2
                                                                 lived there                                                                   lived there
        5 Lawrence Street                                        From-To:                      Same as Debtor 1                                   Same as Debtor 1
        Bloomfield, NJ 07003                                     Over the course                                                               From-To:
                                                                 of the past 3
                                                                 years, estimated
                                                                 ( rented unit)

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income           Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.       (before deductions
                                                                                    exclusions)                                                and exclusions)




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 1
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 Debtor 1      Sherrilyn G Sinclair                                                                        Case number (if known)   21-12170


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $13,967.22            Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For last calendar year:                              Wages, commissions,                       $91,517.16            Wages, commissions,
 (January 1 to December 31, 2020 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                       $82,717.00            Wages, commissions,
 (January 1 to December 31, 2019 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      Sherrilyn G Sinclair                                                                        Case number (if known)   21-12170


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Anil Vazirani ( landlord)                                 Within the past 90             $5,850.00                 $0.00       Mortgage
       1201 Plymouth Road                                        days. Ordinary                                                       Car
       North Brunswick, NJ 08902                                 monthly payments                                                     Credit Card
                                                                 of rents.                                                            Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Monthly rents


       PSEG                                                      Within the past 90               $700.00            $1,300.00        Mortgage
       PO Box 14104                                              days. Ordinary                                                       Car
       New Brunswick, NJ 08906-4104                              monthly payments                                                     Credit Card
                                                                 of utilities,                                                        Loan Repayment
                                                                 estimated.
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other Utilities


       Internal Revenue Service                                  Within the past 90               $400.00            $5,000.00        Mortgage
       PO Box 7346                                               days. Ordinary                                                       Car
       Philadelphia, PA 19114                                    monthly payments                                                     Credit Card
                                                                 of past due                                                          Loan Repayment
                                                                 income tax
                                                                                                                                      Suppliers or vendors
                                                                 liabilities.
                                                                 Estimated.                                                            Other Personal income
                                                                                                                                    tax liabilities.


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                         Status of the case
       Case number




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       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       New Century Financial v. Sherrilyn                        Contract claim (           Superior Court of New                       Pending
       G Sinclair                                                Phone charges)             Jersey                                      On appeal
       DC-006789-13                                                                         Essex County
                                                                                                                                        Concluded
                                                                                            50 W. Market Street
                                                                                            Newark, NJ 07102
                                                                                                                                     Judgement entered for
                                                                                                                                     Plaintiff.

       AHS Hospital Corp v. Sherrilyn G                          Contract claim (           Superior Court of New                       Pending
       Sinclair                                                  Medical bill)              Jersey                                      On appeal
       DC-005289-19                                                                         Essex County
                                                                                                                                        Concluded
                                                                                            50 W. Market Street
                                                                                            Newark, NJ 07102
                                                                                                                                     Judgement entered for
                                                                                                                                     Plaintiff

       Esiquio Casillas v. Sherrilyn G                           Contract claim (           Los Angeles Superior                        Pending
       Sinclair                                                  Past due rents)            Court                                       On appeal
       IOU10470                                                                             Central District
                                                                                                                                        Concluded
                                                                                            111 North Hill Street
                                                                                            Los Angeles, CA 90012
                                                                                                                                     Judgement entered for
                                                                                                                                     Plaintiff. Wage
                                                                                                                                     garnishment pending.


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Dennis P Block & Associates                               Past Due Rents                                               Within the                        $0.00
       5417 Laurel Canyon Blvd                                   Esiquio Casillas v. Shirlyn Sinclair                         past 30 days
       2nd Floor                                                 $0.00 dollars garnished, from debtor's
       Valley Village, CA 91607                                  wages, by judgement creditor.

                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.
                                                                     Property was attached, seized or levied.


11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes




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 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Chharitable donations                                          Donations of cash monies, clothing,                     Within the                    $600.00
                                                                      and household items to various                          past one year,
                                                                      charities and chariutable organizations.                estimated


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your         Value of property
       how the loss occurred                                                                                                  loss                              lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Raymond and Raymond, Attorneys At                              Court filing fees of $338.00 dollars.                   March 2021                  $1,281.00
       Law                                                            Seventy-four dollars for credit report /
       Attn: Herbert B. Raymond, ESQ.                                 liability report.
       7 Glenwood Avenue                                              Legal fees of $869.00 dollars.
       Suite 408, 4th Floor
       East Orange, NJ 07017
       herbertraymond@gmail.com


       Access Counseling, Inc.                                        $8.95 dollars for court required credit                 March 2021                      $18.90
       633 West 5th Street                                            counseling course.                                      May 2021
       Suite#26001                                                    $9.95 dollars for court required
       Los Angeles, CA 90071                                          financial management course.
       www.accesscounselinginc.org




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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment                Amount of
       Address                                                        transferred                                             or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
            No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or          Date transfer was
       Address                                                        property transferred                      payments received or debts        made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                           Date Transfer was
                                                                                                                                                  made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of           Type of account or          Date account was               Last balance
       Address (Number, Street, City, State and ZIP              account number             instrument                  closed, sold,              before closing or
       Code)                                                                                                            moved, or                           transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?           Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                                have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access           Describe the contents                    Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                        have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)




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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                     Describe the property                           Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you        Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                  Status of the
       Case Number                                                    Name                                                                           case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




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            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)




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 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Sherrilyn G Sinclair
 Sherrilyn G Sinclair                                                    Signature of Debtor 2
 Signature of Debtor 1

 Date       3/17/2021                                                    Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                page 9
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 Fill in this information to identify your case:

 Debtor 1                 Sherrilyn G Sinclair
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              DISTRICT OF NEW JERSEY

 Case number           21-12170
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?

    Creditor's                                                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

    Creditor's                                                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

    Creditor's                                                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of                                                          Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:

    Creditor's                                                              Surrender the property.                     No



Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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     name:                                                                  Retain the property and redeem it.                          Yes
                                                                            Retain the property and enter into a
     Description of                                                         Reaffirmation Agreement.
     property                                                               Retain the property and [explain]:
     securing debt:



 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Lessor's name:                                                                                                                   No
 Description of leased
 Property:                                                                                                                        Yes

 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Sherrilyn G Sinclair                                                     X
       Sherrilyn G Sinclair                                                             Signature of Debtor 2
       Signature of Debtor 1

       Date         3/17/2021                                                       Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Sherrilyn G Sinclair
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            District of New Jersey                                 2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number           21-12170
 (if known)                                                                                                3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    04/20
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                         7,285.66        $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                               0.00      $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                               0.00      $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                            $   0.00
        Ordinary and necessary operating expenses                        -$   0.00
        Net monthly income from a business, profession, or farm $             0.00 Copy here -> $                       0.00      $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                            $   0.00
        Ordinary and necessary operating expenses                        -$   0.00
        Net monthly income from rental or other real property            $    0.00 Copy here -> $                       0.00      $
                                                                                                       $                0.00      $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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                                                                                                   Column A                     Column B
                                                                                                   Debtor 1                     Debtor 2 or
                                                                                                                                non-filing spouse
  8. Unemployment compensation                                                                     $                  0.00      $
       Do not enter the amount if you contend that the amount received was a benefit under
       the Social Security Act. Instead, list it here:
          For you                                          $                   0.00
            For your spouse                                            $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled
      if retired under any provision of title 10 other than chapter 61 of that title.         $                       0.00      $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments made
      under the Federal law relating to the national emergency declared by the President
      under the National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the
      coronavirus disease 2019 (COVID-19); payments received as a victim of a war
      crime, a crime against humanity, or international or domestic terrorism; or
      compensation pension, pay, annuity, or allowance paid by the United States
      Government in connection with a disability, combat-related injury or disability, or
      death of a member of the uniformed services. If necessary, list other sources on a
      separate page and put the total below..
               .                                                                              $                       0.00      $
                                                                                                   $                  0.00      $
                  Total amounts from separate pages, if any.                                  +    $                  0.00      $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $       7,285.66          +   $                   =    $      7,285.66

                                                                                                                                                 Total current monthly
                                                                                                                                                 income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                              Copy line 11 here=>             $          7,285.66

              Multiply by 12 (the number of months in a year)                                                                                        x 12
       12b. The result is your annual income for this part of the form                                                                12b. $           87,427.92

  13. Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.                                  NJ

       Fill in the number of people in your household.                        2
       Fill in the median family income for your state and size of household.                                                         13.    $         87,432.00
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3. Do NOT fill out or file Official Form 122A-2.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Sherrilyn G Sinclair
                Sherrilyn G Sinclair
Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                    page 2
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 Debtor 1    Sherrilyn G Sinclair                                                                 Case number (if known)   21-12170
                Signature of Debtor 1
        Date     3/17/2021
                MM / DD / YYYY
             If you checked line 14a, do NOT fill out or file Form 122A-2.
             If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 3
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 Debtor 1    Sherrilyn G Sinclair                                                                 Case number (if known)   21-12170


                                                   Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 09/01/2020 to 02/28/2021.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Warner Media, LLC
Year-to-Date Income:
Last Year:
Starting Year-to-Date Income: $61,770.44 from check dated 8/31/2020 .
Ending Year-to-Date Income: $91,517.16 from check dated 12/31/2020 .

This Year:
Current Year-to-Date Income: $13,967.22 from check dated                         2/28/2021    .

Income for six-month period (Current+(Ending-Starting)): $43,713.94 .
Average Monthly Income: $7,285.66 .
Remarks:
Debtor's current full-time position. Debtor is currently working for this employer.
Debtor is a salaried employee and receives little or no over-time wages.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                      page 4
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                    for family farmers or                                                 certain kinds of improper conduct described in the
                    fishermen                                                             Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                    for individuals with regular                                          You should know that even if you file chapter 7 and
                    income                                                                you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $78       administrative fee                                          factors.
                   $278       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $78       administrative fee                                                 fiduciary capacity,
                   $313       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




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                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                     must complete a financial management instructional
        fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       Sherrilyn G Sinclair                                                                             Case No.      21-12170
                                                                                  Debtor(s)                   Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     869.00
             Prior to the filing of this statement I have received                                        $                     869.00
             Balance Due                                                                                  $                       0.00

2.     $    338.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               ASSIGNMENT OF FUNDS:
               Irrevocable Assignment of Legal Fees and/or Costs: The Debtor, by signing this statement, assigns his/her/their
               interest, in the funds held by the Trustee, to the extent Counsel is still owed legal fees or expenses. You hereby
               irrevocably assign to us your interest in all payments made to the Chapter 13 Trustee, to the extent of any
               balance due, subject to Court approval of such fees and/or expenses. If your
               case is dismissed, or converted before our fees and/or expenses are paid in full, you agree to allow the Chapter
               13 Trustee to pay the balance due to us directly from funds that would otherwise be returned to you, subject to
               Court approval of the fees and/or expenses. This means that if the Chapter 13 Trustee is holding funds, from
               payments that you made into the case, at the time the case is converted or dismissed, you have agreed that
               those funds are assigned to us and that such funds will be paid to our firm on account of legal fees and/or costs
               still due and owing.
               By signing this agreement, you agree to the fee structure and to the assignment of Legal Fees and/or Costs in the
               case.
               Signed debtor:
               Dated debtor:
               Raymond & Raymond, Attorneys at Law
               Herbert B. Raymond, Esq.
               7 Glenwood Avenue, 4th Floor
               East Orange, NJ 07017
               Telephone: 973-675-5622
               Telefax: 1-408-519-6711

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay
               actions or any other adversary proceeding.
               *Representation relating to loan modifications or filing of motion to approve loan modification.
               *Representation relating to preparation and filing of reaffirmation agreements.
               *Additional fees will apply if this case is converted to another chapter.
               *Additional fees and fee applicators maybe charged for continuing legal services.
               * Debtors agree by reviewing this document and it being filed with court that they are in agreement and
               responsible for all legal fees and additional charges. Debtors agree that they are responsible for all legal fees,


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 In re       Sherrilyn G Sinclair                                                                    Case No.     21-12170
                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                  charges and court fees even if case is dismissed, converted and or they decide not to proceed.
                  With respect to the legal fee, I/We understand that the legal fee covers services rendered only before the filing
                  and includes one appearance at the 341a hearing (additional appearances for whatever reason, are not included
                  in the fee) and an appearance at the confirmation hearing and any incidental services. It does not cover any
                  services to be rendered to the Debtor after the filing. Thus, it does not cover any fee, including but, not limited to,
                  avoidance of a judgment lien(s), strip-off of mortgage, discharge of mortgage upon plan completion, defense of
                  adversary proceedings, defense of stay relief motions or default certification(s), trustee motions to dismiss or
                  default certification(s), filing of modified plans, amended schedules, loss mitigation or any procedure associated
                  with loss mitigation or any other events that arise after the filing, etc. Any such fee is to be charged to the Debtor
                  pursuant to the Court's supplemental fee schedule in most cases. In very complicated or time consuming
                  situations, the fee charged may be on an hourly basis. The Debtor consents to the fees to be charged and the
                  attorney will represent the Debtor and charge the Debtor pursuant to the supplemental fee schedule, with the
                  legal fees in most cases, to be added to the plan, unless the Debtor notifies the firm otherwise. The additional fee
                  may result in an increase in the Debtor's plan payment. The Debtor is responsible for payment of any actual cost.
                  This fee arrangement does not apply to any appeal which must be the subject of a separate fee arrangement
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     3/17/2021                                                                  /s/ HERBERT B. RAYMOND, ESQ.
     Date                                                                       HERBERT B. RAYMOND, ESQ. HR#1379
                                                                                Signature of Attorney
                                                                                HERBERT B. RAYMOND, ESQ.
                                                                                7 GLENWOOD AVENUE
                                                                                SUITE 408
                                                                                EAST ORANGE, NJ 07017
                                                                                973-675-5622 Fax: 408-519-6711
                                                                                HERBERTRAYMOND@GMAIL.COM
                                                                                Name of law firm




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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      Sherrilyn G Sinclair                                                                   Case No.   21-12170
                                                                                   Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date:      3/17/2021                                                   /s/ Sherrilyn G Sinclair
                                                                        Sherrilyn G Sinclair
                                                                        Signature of Debtor




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